Case 1:25-cv-21524-KMW Document 98 Entered on FLSD Docket 07/03/2025 Page 1 of 3




                  UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF FLORIDA

   FLORIDA IMMIGRANT COALITION, et al.,
                Plaintiffs,
         v.                                            No. 1:25-cv-21524-KMW
   JAMES UTHMEIER, in his official capacity
   as Attorney General for the State of
   Florida, et al.,
                Defendants.

              DEFENDANT R.J. LARIZZA’S NOTICE TO THE COURT

        Defendant R.J. Larizza, as State Attorney for the Seventh Judicial Circuit,

  gives notice to the Court of corrective action taken in the two cases with arrests iden-

  tified in the Attorney General’s status report filed two days ago. DE97. Those actions

  were taken in concurrence with the suggestion from Attorney General James Uth-

  meier. In one case, involving a pending criminal charge for illegal entry against Mr.

  Alejandro Perez (Case No. 2025-MM-001093, St. Johns County), our office has filed

  an intention of no information, thus dismissing the case. See Attachment A. In the

  other case, involving a conviction for driving without a license and for illegal entry

  against Mr. Juan Miguel Aguilar (Case No. 2025-MM-001086, St. Johns County), our

  office has filed a motion to vacate the charge for illegal entry that the trial court

  granted yesterday. See Attachment B.
Case 1:25-cv-21524-KMW Document 98 Entered on FLSD Docket 07/03/2025 Page 2 of 3




                               Respectfully submitted on July 3, 2025.

                               JAMES UTHMEIER
                                Attorney General

                               /s/ Robert S. Schenck
                               JEFFREY P. DESOUSA (FBN 110951)
                                 Acting Solicitor General
                               NATHAN A. FORRESTER (FBN 1045107)
                                 Chief Deputy Solicitor General
                               ROBERT S. SCHENCK (FBN 1044532)
                               CHRISTINE PRATT (FBN 100351)
                                 Assistant Solicitors General
                               OFFICE OF THE ATTORNEY GENERAL
                               The Capitol, PL-01
                               Tallahassee, FL 32399
                               Phone: (850) 414-3300
                               Facsimile: (850) 410-2672
                               jeffrey.desousa@myfloridalegal.com
                               nathan.forrester@myfloridalegal.com
                               robert.schenck@myfloridalegal.com
                               christine.pratt@myfloridalegal.com

                               Counsel for Defendant R.J. Larizza




                                        2
Case 1:25-cv-21524-KMW Document 98 Entered on FLSD Docket 07/03/2025 Page 3 of 3




                            CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been furnished

  by electronic service through the CM/ECF Portal on July 3, 2025, to all counsel of

  record.


                                                       /s/ Robert S. Schenck
                                                       Assistant Solicitor General




                                            3
